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                                                                                          Apr 8, 2022
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA                                         WPB


                             CASE NO. 22-CR-80022-CANNON/REINHART

        UNITED STATES OF AMERICA

        vs.                                                                UNDER SEAL

        DANIEL M. CARVER, et al.,

                              Defendants.
                                              /

    UNITED STATES’ PARTIALLY OPPOSED MOTION FOR DISCOVERY PROTOCOL
    GOVERNING DISCLOSURE OF MATERIAL SUBJECT TO CLAIMS OF PRIVILEGE

              The United States of America, by and through its assigned Filter Team,1 respectfully files

    this partially opposed motion to request authorization and entry of a protocol to disclose discovery

    materials that have been or are potentially subject to claims of privilege. Counsel for nine of the

    ten Defendants2 do not oppose entry of the proposed protocol attached as Exhibit A (the “Proposed

    Protocol”) governing the handling of Potentially Protected Material (“PPM”).3 However, counsel




    1
      The Filter Team attorney in this case is DOJ Trial Attorney Timothy J. Coley. The Filter Team
    attorney is assigned to the U.S. Department of Justice, Criminal Division, Fraud Section’s Special
    Matters Unit and has a separate reporting and supervisory chain from the Prosecution Team in this
    case. Further, the Filter Team attorney is supported by paralegals and other professional staff who
    are not part of the Prosecution Team. The Filter Team attorney and his supporting staff only
    conduct the filter review and are not involved in the investigation or proceedings related to the
    above-captioned matter.
    2
     The following Defendants, through counsel, stated that they do not oppose entry of the Proposed
    Protocol: Daniel Carver, Louis Carver, Thomas Dougherty, Galina Rozenberg, Michael
    Rozenberg, Ethan Macier, Ashley Cigarroa, Timothy Richardson, and Jose Goyos. See infra p.
    11, Local Rule 88.9 Certification.
    3
      “Potentially Protected Material” is defined as material that could potentially garner the
    protections of the attorney client privilege, work product doctrine, or other legally recognized
    privileges.
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    for Defendant John Paul Gosney, Jr. stated that he is in opposition. See infra p. 11, R. 88.9

    Certification.

           The Proposed Protocol provides an orderly mechanism for ostensible privilege holders to

    assert a privilege with specificity, while also narrowing and resolving potential privilege disputes.

    Accordingly, for these reasons and those set forth below, the Filter Team respectfully requests the

    Court grant this Motion and enter the Proposed Protocol.

                                      FACTUAL BACKGROUND

           On February 24, 2022, a Grand Jury issued an Indictment [ECF No. 23] for ten Defendants,

    Daniel Carver, Louis Carver, Thomas Dougherty, Galina Rozenberg, Michael Rozenberg, Ethan

    Macier, John Paul Gosney, Jr., Timothy Richardson, Ashley Cigarroa, and Jose Goyos for their

    respective roles in health care fraud, kickback, and money laundering conspiracies. Indictment at

    12-33. The Defendants’ conduct resulted in the submission of over $67 million in false and

    fraudulent claims to Medicare for medically unnecessary cardiovascular genetic testing as well as

    additional false and fraudulent claims for durable medical equipment. Id. at 16-17. These funds

    were then laundered through shell companies to conceal the nature, location, source, ownership,

    or control of the proceeds. Id. ¶ 20.

           A.        The Search Warrants

                     1.    The Premises Search Warrants

           On July 13, 2021, the Honorable Shaniek Maynard approved two sealed search and seizure

    warrants (the “Premises Search Warrants”) for materials located at a call center location operated

    by the Defendants (1200 North Federal Highway, Suite 417, Boca Raton, FL), as well as a mobile

    device belonging to Daniel Carver.




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           On July 14, 2021, the Government executed the Premises Search Warrants, seizing

    approximately eleven banker’s boxes of documents, a money wheel, laptop computers, desktop

    computers, and a cell phone belonging to Daniel Carver. See Exhibit B, Inventory of Seized

    Materials. The privilege review team and Filter Team followed the PPM-handling processes in

    the search warrants                                                 segregating all PPM from the

    investigation team.4

                   2.      The Email Search Warrant

           On December 3, 2021, the Honorable William Matthewman approved a search warrant

    (the “Email Search Warrant”) for email communications associated with the following Google

    accounts from May 2020 to the time of the search (on or around December 3, 2021):

           a.      dmcarver777@gmail.com (Daniel M. Carver);
           b.      g.rozenberg305@gmail.com (Galina Rozenberg);
           c.      m.rozenberg305@gmail.com (Michael Rozenberg);
           d.      ashleydataco@gmail.com (Ashley Cigarroa);
           e.      josebroadstreet@gmail.com (Jose Goyos);
           f.      joannapalmleaf@gmail.com (Joanne Polumsky);
           g.      82dataco@gmail.com (Thomas Dougherty);
           h.      ginodataco@gmail.com (Louis Carver); and
           i.      john@ojpinc.com (John Paul Gosney).

           On or around January 21, 2022, the Government downloaded search warrant returns from

    Google containing approximately 79,000 documents. The privilege review team and Filter Team

    followed the PPM-handling processes in the search warrants

           segregating all PPM from the investigation team.




    4
      During the execution of the Warrants, the Government was informed that the premises contained
    an office purportedly belonging to Attorney Keith Fousek. No items were seized from this office,
    and no individual from the Government entered this office other than to secure and clear the office
    during the initial sweep. Thereafter, the Filter Agent assigned to the case sealed this office with
    tape to prevent further entry.

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                   3.      The Warrants Contained Procedures for Handling PPM

           The Government received information prior to filing the Premises Search Warrants and the

    Email Search Warrant that PPM potentially may be present, and for this reason included detailed

    search procedures for handling PPM in the Warrant applications. See Exhibit C (Attachment G,

    Case No. 21-8267-SMM); Exhibit D (Attachment H, Case               No. 21-8268-SMM); Exhibit E

    (Attachment C, Case No. 21-8467-WM), Search Procedures for Handling Potentially Privileged

    Information for Search Warrants.

           The Warrants’ search procedures provided in relevant part that a privilege review team—

    separate from the investigative search team—will search for and segregate material that may

    contain PPM among the seized materials. Pursuant to these provisions, the Filter Team reviewed

    the identified seized materials to isolate the PPM and segregate it from the Prosecution Team.5 The

    Filter Team does not itself make privilege determinations but takes the appropriate course for

    resolving potential PPM objections, including working with the privilege holders regarding

    privilege assertions and, if necessary, seeking privilege determinations from the Court. Material

    the Filter Team does not identify as PPM may be provided to the Prosecution Team. The search

    procedures also specify the procedure for handling digital devices or files containing PPM. See

    Ex. C at 2-6, Ex. D at 2-4; Ex. E at 3-10. Each of the three Warrant applications approved by the

    Court contained the search protocols for handling PPM as described above.




    5
      The United States is providing certain basic information to the Court about its filter process in
    this case as background and context to explain how the need for the Proposed Protocol arose. In
    providing such information, the United States does not intend to waive its right to argue that certain
    information about its investigation, filter process, or prosecution of this case is protected by the
    deliberative process privilege or other applicable privileges. The Government asserts deliberative
    process, work product doctrine, and attorney-client privilege regarding this information.

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           C.      Gosney’s Instant Objection to the Protocol Order

           In the instant case, nine of the ten Defendants do not oppose entry of the Proposed Protocol.

    Defendant Gosney is the sole objector to the Protocol Motion,

                                                    . In short, Gosney objects to any Government

    attorney, even Filter Attorneys formally segregated from the Prosecution Team, accessing his

    material. See Exhibit L, April 1, 2021 email from Gosney counsel (“Our position on the proposed

    protocol order remains                                                               that we object

    generally to filter teams comprised of government attorneys.”).                             already

    considered and rejected this absolutist position—as has the Eleventh Circuit Court of Appeals after

    considering similar arguments raised by Gosney’s same counsel, Howard Srebnick. See In re:



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    Sealed Search Warrant and Application for Warrant by Telephone or Other Reliable Electronic

    Means (“Korf”), 11 F.4th 1235, 1249–50 (11th Cir. 2021))—as have other cases in this District.

    See Exhibit M, Order on Government’s Motion for Discovery Protocol, United States v. Stein, No.

    21-CR-20321 (S.D. Fla.) (denying same arguments and adopting substantially similar filter

    protocol).6

                                               ARGUMENT

        I.        A FILTER TEAM IS AN APPROPRIATE AND EFFICIENT MECHANISM
                  FOR RESOLVING PRIVILEGE DISPUTES

             The Proposed Protocol makes use of a Filter Team7 to identify and withhold potentially

    discoverable material obtained during criminal investigations from material properly subject to

    disclosure to the prosecution team and co-defendants. See Ex. A (Proposed Protocol). Courts in

    this Circuit have recognized the validity of using filter teams to properly segregate material subject

    to a claim of privilege. See, e.g., Ex. M (Stein Protocol Order); United States v. Garipoli, No. 19-

    CR-80196 (S.D. Fla. Mar. 11, 2021); United States v. Patel, No. 19-CR-80181, 2020 WL 3118291

    (S.D. Fla. June 8, 2020); United States v. Murphy, No. 5:20-cr-00291 (N.D. Al. July 26, 2021);

    United States v. Deluca, 663 F. App’x 875, 877 (11th Cir. 2016); United States v. Kallen-Zury,

    710 F. App’x 365, 373 (11th Cir. 2017). Further, courts in other jurisdictions, including in the

    Third, Fourth, Fifth, and Sixth Circuits, have recently entered protocols utilizing filter teams such

    as the one sought here. See, e.g., United States v. Salahaldeen, No. 3:20-CR-839, 2021 WL


    6
      Gosney counsel’s April 1, 2021 email also requested the addition of language in the Proposed
    Protocol describing the separation of Filter Team and Prosecution Team personnel. See Ex. L.
    The Filter Team agreed to this change and incorporated the proposed language in Paragraph 2 of
    the Proposed Protocol. See Proposed Protocol, Ex. A ¶ 2.
    7
      Filter Team members, including those attorneys conducting and supervising the filter review of
    all the materials, are not, and will never be, involved in the prosecution of this case. Members of
    the Filter Team have been cautioned not to disclose information discovered during the filter
    process to the Prosecution Team.

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    2549197 (D.N.J. May 7, 2021); United States v. Reifler, No. 1:20-CR-512-1, 2021 WL 2253134

    (M.D.N.C. June 2, 2021); United States v. Fluitt, Case No. 20-cr-00196-TAD (W.D. La. December

    9, 2020); United States v. Young et al., Case No. 1:19-cr-10040-JTF (W.D. Tenn. October 15,

    2020). Moreover, the U.S. Court of Appeals for the Eleventh Circuit recently rejected the

    argument that Government filter attorneys are not permitted to review privileged documents

    pursuant to court-approved protocols. Korf, 11 F.4th 1235 (11th Cir. 2021); see infra 9-10; Exs.

    I, M.

              Accordingly, where, as here, a court is faced with criminal litigation involving potential

    claims of attorney-client privilege, the use of a Filter Team provides a practical means for

    narrowing and ultimately adjudicating such claims.

        II.      THE PROPOSED PROTOCOL PROVIDES AN ORDERLY, PRACTICAL
                 PROCESS FOR NARROWING AND RESOLVING PRIVILEGE DISPUTES

              The Government has discovery obligations in criminal proceedings to all charged

    defendants pertaining to material obtained from Defendants. Where the materials may involve

    claims of privilege, the Government’s discovery obligations must be balanced with the rights of

    privilege holders, who may possess constitutional and statutory rights to the effective assistance

    of counsel and to have privileged communications with those counsel. Further, the Court has

    inherent power to regulate discovery pursuant to Rule 16(d)(1) of the Federal Rules of Criminal

    Procedure which permits the Court to “deny, restrict, or defer discovery or inspection, or grant

    other appropriate relief.” The Proposed Protocol contains several important features to balance

    these interests.

              The Proposed Protocol provides an organized mechanism for addressing privilege issues

    and ultimately narrowing and adjudicating such issues. To be clear, the Proposed Protocol is not

    intended to endow the Filter Team with the ability to adjudicate privilege claims; adjudication of


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    privilege claims is solely the realm of the Court. See Fed. R. Evid. 501. However, since “[t]he

    burden of establishing the privilege rests with the client or with the party objecting to the disclosure

    of the communication,” McClary v. Walsh, 202 F.R.D. 286, 291 (N.D. Ala. 2000), including

    through a particularized showing, the Court cannot practically adjudicate the privilege claims here

    without employing an orderly process. Moreover, “a party cannot meet its burden of proof with a

    blanket assertion of privilege.” In re Grand Jury Subpoena, 831 F.2d 225, 228 (11th Cir. 1987).

           For these reasons, the Filter Team respectfully suggests that the Proposed Protocol provides

    the Court with an orderly process whereby the asserting party makes such claims with particularity,

    by creation of a privilege log, and the parties discuss and attempt to narrow the remaining disputes

    before the material is submitted to the Court for in camera inspection, if necessary, and for

    adjudication. Further, the Proposed Protocol provides a practical mechanism for the Government

    to notify and resolve potential third-party claimants’ claims prior to producing their Potentially

    Protected Material in discovery and provide an objecting claimant with an opportunity to be heard.

           Finally, the Proposed Protocol protects the privilege by limiting any waiver of privilege to

    this proceeding only, and expressly retaining for the privilege holder any claim of privilege with

    respect to future proceedings, thus creating a more efficient process where a potential claimant

    need not assert a privilege claim solely out of concern for a future waiver claim in some other

    proceeding. See Fed. R. Evid. 502(d) (providing that the court may “order that [a] privilege or

    protection is not waived by disclosure connected with the litigation pending before the court—in

    which event the disclosure is also not a waiver in any other federal or state proceeding.”). In so




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    doing, the Proposed Protocol will allow a more efficient process by allowing the parties to focus

    on only the most relevant material and most significant claims.8

    III.   GOSNEY’S ARGUMENTS HAVE ALREADY BEEN CONSIDERED AND
           REJECTED BY THE ELEVENTH CIRCUIT AND COURTS IN THIS DISTRICT,


           Gosney’s stated opposition to the Proposed Protocol (see Ex. L) is based upon arguments

    that are not supported by law or fact, and which already have been raised—and rejected—

                                     , in other cases in this District considering the issue, and by the

    Eleventh Circuit Court of Appeal. In short, Gosney asserts that the Proposed Protocol is per se

    improper because it provides Filter Team access, and it does not permit Gosney to conduct an

    initial privilege review over the subject documents before the Filter Team provides even non-

    privileged material to the case team. In                                       other cases, including

    Stein (Ex. M), Gosney has argued that his position is premised on the U.S. Court of Appeals for

    the Eleventh Circuit’s decision in In re: Sealed Search Warrant and Application for Warrant by

    Telephone or Other Reliable Electronic Means (“Korf”), 11 F.4th 1235 (11th Cir. 2021).

           Gosney’s position, however, has repeatedly been rejected. See              M. At bottom, his

    argument is fundamentally inconsistent with Korf, which recognizes that Government filter teams

    are generally permitted to conduct initial privilege reviews, and no authority supports a “per se”

    bar the use of Filter Teams. See Korf, 11 F.4th at 1249–50 (no cases support position “that

    government agents should never review documents that are designated by their possessors as

    attorney-client or work product privileged until after a court has ruled on the privilege assertion.”)


    8
     Separately, the Government notes the privilege claims to be asserted, or that have been asserted,
    by the ostensible privilege holders likely implicate the crime-fraud exception. See In re Grand
    Jury Investigation, 842 F.2d 1223, 1226 (11th Cir. 1987) (“The attorney-client privilege does not
    protect communications made in furtherance of a crime or fraud.”). The Government intends to
    submit separate briefing on this matter at a future point.

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    (internal citation omitted); In re Sealed Search Warrant & Application for a Warrant, No. 20-MJ-

    03278, 2020 WL 56587219 (“Korf Dist. Ct. Order”), at *4 (S.D. Fla. Sept. 23, 2020) (“At the

    outset, the Court rejects the movant’s argument that the use of government filter teams to conduct

    privilege reviews is per se legally flawed.”); see also supra at 6-7 (collecting cases).

           Gosney’s request for a blanket rule entitling parties to first review search warrant returns

    before the Government may access them is likewise incompatible with Federal Rule of Criminal

    Procedure 41. To require otherwise would disrupt the Government’s ability to search material

    whenever there is even a suggestion of privilege—including in ordinary searches of businesses.

    See Korf Dist. Ct. Order at *6 (contrasting that case from ordinary business searches that may

    contain privileged documents). The Proposed Protocol, on the other hand, provides an objective

    mechanism tailored to the needs of this case to reasonably and objectively identify and segregate

    privileged materials.

                                              CONCLUSION

           The Proposed Protocol allows for a fair and efficient discovery and disclosure process

    while allowing Defendants and other privilege claimants the opportunity to assert valid claims of

    privilege, while permitting the parties to review asserted privilege claims, narrowing the areas of

    disagreement, and authorizing the Court to adjudicate the remaining claims pursuant to the

    Proposed Protocol. For these reasons and those set forth above, the Government respectfully

    requests that the Court grant the Filter Team’s Motion for a Discovery Protocol Governing

    Disclosure of Materials Subject to Claims of Privilege.




    9
      Aff’d sub nom. In re Sealed Search Warrant & Application for a Warrant by Tel. or Other
    Reliable Elec. Means, No. 20-03278-MJ, 2020 WL 6689045 (S.D. Fla. Nov. 2, 2020), aff’d, No.
    20-14223, 2021 WL 3852229 (11th Cir. Aug. 30, 2021).

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    This the 8th day of April, 2022.

                                                 Respectfully submitted,


                                                 JOSEPH BEEMSTERBOER, ACTING CHIEF
                                                 CRIMINAL DIVISION, FRAUD SECTION
                                                 U.S. DEPARTMENT OF JUSTICE

                                          By:    /s/ Timothy J. Coley
                                                 TIMOTHY J. COLEY
                                                 Trial Attorney
                                                 United States Department of Justice
                                                 Criminal Division, Fraud Section
                                                 Special Matters Unit
                                                 1400 New York Avenue NW
                                                 Washington, DC 20530
                                                 Tel: (202) 514-0395
                                                 Timothy.J.Coley@usdoj.gov




                               LOCAL RULE 88.9 CERTIFICATION

           Undersigned counsel conferred via email on March 29 and April 2, 2022, and on April 4,

    2022 via telephone, with counsel for Defendants in a good faith effort to resolve the issues raised

    in the Motion. Daniel Carver, Louis Carver, Thomas Dougherty, Galina Rozenberg, Michael

    Rozenberg, Ethan Macier, Ashley Cigarroa, Timothy Richardson, and Jose Goyos have stated

    through counsel that they do not oppose entry of the Proposed Protocol at Exhibit A. On April 1,

    2022, John Paul Gosney, Jr. stated through counsel that he opposes entry of the Proposed Protocol.



                                                 /s/ Timothy J. Coley
                                                 TIMOTHY J. COLEY




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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA


                                          §
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    UNITED STATES OF AMERICA,
                                          §
                                          §
          v.
                                          § CASE NO. 22-CR-80022-
                                          § CANNON/REINHART
    DANIEL M. CARVER, et al.,
                                          §
                                          §
       Defendant(s).
                                          §
                                          §
    ______________________________________________________________________________

                                                          ORDER

             Pursuant to Federal Rule of Criminal Procedure 16, the Court GRANTS the

    Government’s Motion for Entry of a Discovery Protocol Governing the Production of Potentially

    Protected Material.

             IT IS ORDERED:

             1.       This Discovery Protocol Order (the “Protocol”) governs the production of

    Potentially Protected Material 1 in this case.

             2.       The Filter Team shall not share a first-level supervisor with anyone on the

    investigative/prosecution team (the “Prosecution Team”). Any supervisor involved in the filter

    team review shall be walled off from the underlying investigation.

             3.       The Government’s Filter Team shall segregate Potentially Protected Material

    from the Prosecution Team and Defendant(s) unless the Court or the ostensible holder of the

    potential privilege(s) or protection(s) authorizes the production of the Potentially Protected

    Material to the specific recipient.


             1
                “Potentially Protected Material” is discovery material that is potentially protected from disclosure by the
    attorney-client privilege, work-product doctrine, or any other legally recognized privilege or protection.
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            4.      The Filter Team shall produce discovery material that is not Potentially Protected

    Material to the Prosecution Team and Defendant(s).

            5.      If a Defendant is the ostensible holder of the potential privilege(s) or protection(s)

    or is entitled to access the Potentially Protected Material through a joint-defense agreement

    (“JDA”), the Filter Team shall produce a full copy of the Potentially Protected Material to the

    Defendant. 2

            6.      If a Defendant is the ostensible holder of the potential privilege(s) or

    protection(s), the Filter Team shall notify that Defendant before producing any of the

    Defendant’s Potentially Protected Material to the Prosecution Team or a Co-Defendant who is

    not entitled to access by virtue of a JDA or other document sharing arrangement using the

    following procedure:

                 a. Notice: The written notice to the ostensible holder of the potential privilege(s) or
                    protection(s) shall include:

                         i. An electronic index identifying the Potentially Protected Material
                            scheduled for production;
                         ii. A copy of this Protocol.

                 b. Objections: If the Defendant who is the ostensible holder of the potential
                    privilege(s) or protection(s) objects to the Filter Team’s production of certain
                    items to Co-Defendant(s) or the Prosecution Team, the Defendant must send a
                    written objection to the Filter Team and counsel for Co-Defendant(s) within thirty
                    (30) days of receiving the notice of scheduled production. The objection shall
                    include a privilege log setting forth, for each item logged:

                         i. The Bates number range for the item;
                         ii. The item title or a description of the item’s subject matter;
                        iii. The date the item was created;
                        iv. The author(s) of the item;
                         v. The recipient(s) of the item, if any;


            2
              Unless otherwise noted, dates and times in this Order shall be computed according to Federal Rule of
    Criminal Procedure 45.


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                    vi. Transmittal details of the item, if any;
                   vii. The party asserting the potential privilege(s) and/or protection(s);
                        and
                  viii. The legally recognized privilege(s) and/or protection(s) asserted
                        that preclude production of each item logged, including the
                        identity of any attorneys (or other persons) whose role(s) in the
                        item at issue form(s) the basis for the assertion.

             c. Non-Logged Potentially Protected Material: The Filter Team will produce to the
                Prosecution Team and Co-Defendant(s) the Potentially Protected Material that the
                ostensible holder of the potential privilege(s) or protection(s) does not include an
                objection for on the privilege log without the need for the Court’s approval.

             d. Failure to Object or Assert: If the ostensible holder of the potential privilege(s) or
                protection(s) fails to adequately object within thirty (30) days of the notice of
                scheduled production, the Filter Team will provide the Prosecution Team and Co-
                Defendant(s) with information regarding the Filter Team’s attempts to contact the
                ostensible holder of the potential privilege(s) or protection(s) and the subsequent
                failure to respond. Thereafter, the Government or Co-Defendant(s) may forego
                Subparagraphs (f)–(i) below and move the Court for a finding that the ostensible
                holder of the potential privilege(s) or protection(s) has waived any privilege(s)
                and/or protection(s) over the Potentially Protected Material identified in the notice
                of scheduled production.

             e. Failure to Comply: If the ostensible holder of the potential privilege(s) or
                protection(s) fails to (i) provide to the Filter Team and Co-Defendant(s) a
                privilege log that complies with Subparagraph (b) above, or (ii) meet and confer
                in accordance with Subparagraph (f) below, the Court may determine that such
                inactions constitute waiver of any privilege(s) and/or protection(s) over the
                Potentially Protected Material.

             f. Meet and Confer Requirement: The Filter Team shall have ten (10) days from the
                receipt of any objection(s) and required privilege log to meet and confer with the
                ostensible holder of the potential privilege(s) or protection(s) to try and resolve
                any disagreements concerning the objection(s). All Defendant(s) shall be given
                notice of the date and time of the meet and confer and may participate through
                counsel.

             g. Motion to Compel: The Filter Team and/or Co-Defendant(s) shall have ten (10)
                days from the date of the meet and confer to move to compel production of the
                disputed Potentially Protected Material. The moving party shall include with its
                motion a copy of the objection and privilege log, as well as a memorandum
                containing any factual or legal arguments. Upon the Court’s request, the
                objecting Defendant shall provide a copy of the disputed Potentially Protected
                Material to the Court ex parte and under seal for in camera review.




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                 h. Response: The objecting Defendant shall file a response within ten (10) days of
                    the filing of a motion to compel under this Protocol.

                 i. Reply: A party moving to compel under this Protocol shall file a reply within five
                    (5) days of the objecting Defendant’s response.

           7.       If a non-party to this case is the ostensible holder of the potential privilege(s) or

    protection(s) of any Potentially Protected Material, the Filter Team shall notify the non-party

    before producing their Potentially Protected Material to the Prosecution Team and/or

    Defendant(s). However, if this notice would jeopardize an ongoing investigation, the Filter

    Team shall instead seek authorization from the Court on how to produce the Potentially

    Protected Material to the Defendant(s) and/or the Prosecution Team. Absent the potential to

    jeopardize an ongoing investigation, the following procedure will apply when the ostensible

    holder of the potential privilege(s) or protection(s) over any Potentially Protected Material is a

    non-party:

                 a. Existence of a JDA: The Filter Team shall produce a non-party’s Potentially
                    Protected Material to a Defendant if that Defendant is entitled to access through a
                    JDA or other document sharing arrangement.

                 b. Notice: The written notice to a non-party shall include:

                         i. The criminal case number of this proceeding;
                        ii. An electronic index identifying the Potentially Protected Material
                            scheduled for production;
                       iii. An electronic copy of the Potentially Protected Material scheduled
                            for production;
                       iv. A copy of any protective order in this case; and
                        v. A copy of this Protocol.

                 c. Objections: If the non-party objects to the Filter Team’s production of certain
                    items to Defendant(s) and/or the Prosecution Team, the non-party must send a
                    written objection to the Filter Team and counsel for Defendant(s) within thirty
                    (30) days of receiving the notice of scheduled production. The objection shall
                    include a privilege log setting forth, for each item logged:




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                     i. The Bates number range for the item;
                     ii. The item title or a description of the item’s subject matter;
                    iii. The date the item was created;
                    iv. The author(s) of the item;
                     v. The recipient(s) of the item, if any;
                    vi. Transmittal details of the item, if any;
                    vii. The party asserting the potential privilege(s) and/or protection(s);
                         and
                   viii. The legally recognized privilege(s) and/or protection(s) asserted
                         that preclude production of each item logged, including the identity
                         of any attorneys (or other persons) whose role(s) in the item at
                         issue form(s) the basis for the assertion.

             d. Non-Logged Potentially Protected Material: The Filter Team will produce to the
                Prosecution Team and Defendant(s) the Potentially Protected Material that the
                non-party does not include an objection for on the privilege log without the need
                for the Court’s approval.

             e. Failure to Object or Assert: If the non-party fails to adequately object within
                thirty (30) days of the notice of scheduled production, the Filter Team will
                provide the Prosecution Team and Defendant(s) with information regarding the
                Filter Team’s attempts to contact the non-party and the subsequent failure to
                respond. Thereafter, the Government or Defendant(s) may forego Subparagraphs
                (g)–(j) below and move the Court for a finding that the non-party waived any
                privilege(s) or protection(s) over the Potentially Protected Material identified in
                the notice of scheduled production.

             f. Failure to Comply: If a non-party fails to (i) provide to the Filter Team and
                Defendant(s) a privilege log that complies with Subparagraph (c) above, or (ii)
                meet and confer in accordance with Subparagraph (g) below, the Court may
                determine that such inactions constitute waiver of any privilege(s) and/or
                protection(s) over the Potentially Protected Material.

             g. Meet and Confer Requirement: The Filter Team shall have ten (10) days from the
                receipt of any objection(s) and required privilege log to meet and confer with the
                non-party to try and resolve any disagreements concerning the objection(s). The
                non-party and Defendant(s) shall be given notice of the date and time of the meet
                and confer and may participate through counsel.

             h. Motion to Compel: The Filter Team and/or Defendant(s) shall have ten (10) days
                from the date of the meet and confer to move to compel production of the
                disputed Potentially Protected Material. The moving party shall include with its
                motion a copy of the non-party’s objection and log, as well as a memorandum
                containing any factual or legal arguments. The moving party must also serve a


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                      copy of the motion and attachments on the non-party. Upon the Court’s request,
                      the objecting non-party shall provide a copy of the disputed Potentially Protected
                      Material to the Court ex parte and under seal for in camera review.

                   i. Response: The objecting non-party shall file a response within ten (10) days of
                      the filing of a motion to compel under this Protocol.

                   j. Reply: A party moving to compel under this Protocol shall file a reply within five
                      (5) days of the objecting non-party’s response. The moving party must also serve
                      a copy of the reply and attachments on the non-party.

             8.       An ostensible holder of any potential privilege(s) and/or protection(s) may assert

    a claim over material previously produced as non-Potentially Protected Material to Defendant(s)

    and/or the Prosecution Team by providing a written objection to the recipient Defendant(s)

    and/or the Prosecution Team detailing, with specificity, the impacted documents and basis of the

    asserted privilege(s) and/or protection(s).      The Filter Team will promptly claw back the

    identified material from the Prosecution Team. Any Defendant who is not also a holder of the

    privilege(s) and/or protection(s) (or entitled to access by virtue of a JDA or other document

    sharing arrangement) must promptly return, sequester, or destroy the identified material (and any

    copies); must not use or disclose the material until the objection is resolved; and must take

    reasonable steps to retrieve the material if the Defendant disclosed it before receiving the

    objection. The identified material will then be treated as Potentially Protected Material under

    Paragraph five (5) or six (6), whichever is applicable.

             9.       The Court retains jurisdiction to resolve any dispute or adjudicate any claim of

    privilege or protection asserted over discovery material produced pursuant to the Protocol,

    including if, and under what circumstances, a party may use the Potentially Protected Material at

    trial.

             10.      Pursuant to Federal Rule of Evidence 502(d), any Potentially Protected Material

    produced to the Prosecution Team, Defendant(s), or a non-party under this Protocol or



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    subsequent order in this proceeding, shall not constitute a waiver or forfeiture of any privilege or

    protection claim in any other federal or state judicial or administrative proceeding.

           11.     All parties have the right to present to the Court any Potentially Protected

    Material to adjudicate whether the material is indeed privileged, protected, and/or if an exception

    to any privilege or protection applies, including, but not limited to, the crime-fraud exception or

    waiver. Under Federal Rule of Evidence 502(d), a production to determine whether materials are

    privileged or protected pursuant to this paragraph shall not itself constitute a waiver or forfeiture

    of any claim of privilege or protection.

           12.     If any member of the Prosecution Team inadvertently reviews Potentially

    Protected Material, the Prosecution Team member shall immediately cease review of the

    Potentially Protected Material and turn the Potentially Protected Material over to the Filter Team

    for processing in accordance with this Protocol. Inadvertent review of Potentially Protected

    Material shall not automatically disqualify a Prosecution Team member from this matter.

           13.     The Parties and non-parties subject to this Protocol may extend its deadlines by

    written agreement or by requesting the same from the Court upon good cause shown.

           14.     The Filter Team shall provide a copy of this Protocol to all non-parties who are

    known ostensible holders of potential privilege(s) or protection(s) over any Potentially Protected

    Material within five (5) days of the entry of this Order.

           ORDERED AND ADJUDGED in Miami, Florida this ____ day of April 2022.



                                                  _________________________________________
                                                  HONORABLE CECILIA M. ALTONAGA
                                                  UNITED STATES DISTRICT COURT JUDGE




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                     EXHIBIT A
                    UNDER SEAL
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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA


                                                              §
                                                              §
    UNITED STATES OF AMERICA,
                                                              §
                                                              §
            v.
                                                              §                 CASE NO. 22-CR-80022-
                                                              §                  CANNON/REINHART
    DANIEL M. CARVER, et al.,
                                                              §
                                                              §
        Defendant(s).
                                                              §
                                                              §

                                                (PROPOSED) ORDER

             Pursuant to Federal Rule of Criminal Procedure 16, the Court GRANTS the

    Government’s Motion for Entry of a Discovery Protocol Governing the Production of Potentially

    Protected Material.

             IT IS ORDERED:

             1.       This Discovery Protocol Order (the “Protocol”) governs the production of

    Potentially Protected Material1 in this case.

             2.       The Filter Team shall not share a first-level supervisor with anyone on the

    investigative/prosecution team (the “Prosecution Team”). Any supervisor involved in the filter

    team review shall be walled off from the underlying investigation.

             3.       The Government’s Filter Team shall segregate Potentially Protected Material

    from the Prosecution Team and Defendant(s) unless the Court or the ostensible holder of the

    potential privilege(s) or protection(s) authorizes the production of the Potentially Protected

    Material to the specific recipient.



             1
                “Potentially Protected Material” is discovery material that is potentially protected from disclosure by the
    attorney-client privilege, work-product doctrine, or any other legally recognized privilege or protection.
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            4.      The Filter Team shall produce discovery material that is not Potentially Protected

    Material to the Prosecution Team and Defendant(s).

            5.      If a Defendant is the ostensible holder of the potential privilege(s) or protection(s)

    or is entitled to access the Potentially Protected Material through a joint-defense agreement

    (“JDA”), the Filter Team shall produce a full copy of the Potentially Protected Material to the

    Defendant.2

            6.      If a Defendant is the ostensible holder of the potential privilege(s) or

    protection(s), the Filter Team shall notify that Defendant before producing any of the

    Defendant’s Potentially Protected Material to the Prosecution Team or a Co-Defendant who is

    not entitled to access by virtue of a JDA or other document sharing arrangement using the

    following procedure:

                 a. Notice: The written notice to the ostensible holder of the potential privilege(s) or
                    protection(s) shall include:

                         i. An electronic index identifying the Potentially Protected Material
                            scheduled for production;
                         ii. A copy of this Protocol.

                 b. Objections: If the Defendant who is the ostensible holder of the potential
                    privilege(s) or protection(s) objects to the Filter Team’s production of certain
                    items to Co-Defendant(s) or the Prosecution Team, the Defendant must send a
                    written objection to the Filter Team and counsel for Co-Defendant(s) within thirty
                    (30) days of receiving the notice of scheduled production. The objection shall
                    include a privilege log setting forth, for each item logged:

                         i. The Bates number range for the item;
                         ii. The item title or a description of the item’s subject matter;
                        iii. The date the item was created;
                        iv. The author(s) of the item;
                         v. The recipient(s) of the item, if any;


            2
              Unless otherwise noted, dates and times in this Order shall be computed according to Federal Rule of
    Criminal Procedure 45.


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                    vi. Transmittal details of the item, if any;
                   vii. The party asserting the potential privilege(s) and/or protection(s);
                        and
                  viii. The legally recognized privilege(s) and/or protection(s) asserted
                        that preclude production of each item logged, including the
                        identity of any attorneys (or other persons) whose role(s) in the
                        item at issue form(s) the basis for the assertion.

             c. Non-Logged Potentially Protected Material: The Filter Team will produce to the
                Prosecution Team and Co-Defendant(s) the Potentially Protected Material that the
                ostensible holder of the potential privilege(s) or protection(s) does not include an
                objection for on the privilege log without the need for the Court’s approval.

             d. Failure to Object or Assert: If the ostensible holder of the potential privilege(s) or
                protection(s) fails to adequately object within thirty (30) days of the notice of
                scheduled production, the Filter Team will provide the Prosecution Team and Co-
                Defendant(s) with information regarding the Filter Team’s attempts to contact the
                ostensible holder of the potential privilege(s) or protection(s) and the subsequent
                failure to respond. Thereafter, the Government or Co-Defendant(s) may forego
                Subparagraphs (f)–(i) below and move the Court for a finding that the ostensible
                holder of the potential privilege(s) or protection(s) has waived any privilege(s)
                and/or protection(s) over the Potentially Protected Material identified in the notice
                of scheduled production.

             e. Failure to Comply: If the ostensible holder of the potential privilege(s) or
                protection(s) fails to (i) provide to the Filter Team and Co-Defendant(s) a
                privilege log that complies with Subparagraph (b) above, or (ii) meet and confer
                in accordance with Subparagraph (f) below, the Court may determine that such
                inactions constitute waiver of any privilege(s) and/or protection(s) over the
                Potentially Protected Material.

             f. Meet and Confer Requirement: The Filter Team shall have ten (10) days from the
                receipt of any objection(s) and required privilege log to meet and confer with the
                ostensible holder of the potential privilege(s) or protection(s) to try and resolve
                any disagreements concerning the objection(s). All Defendant(s) shall be given
                notice of the date and time of the meet and confer and may participate through
                counsel.

             g. Motion to Compel: The Filter Team and/or Co-Defendant(s) shall have ten (10)
                days from the date of the meet and confer to move to compel production of the
                disputed Potentially Protected Material. The moving party shall include with its
                motion a copy of the objection and privilege log, as well as a memorandum
                containing any factual or legal arguments. Upon the Court’s request, the
                objecting Defendant shall provide a copy of the disputed Potentially Protected
                Material to the Court ex parte and under seal for in camera review.




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                 h. Response: The objecting Defendant shall file a response within ten (10) days of
                    the filing of a motion to compel under this Protocol.

                 i. Reply: A party moving to compel under this Protocol shall file a reply within five
                    (5) days of the objecting Defendant’s response.

           7.       If a non-party to this case is the ostensible holder of the potential privilege(s) or

    protection(s) of any Potentially Protected Material, the Filter Team shall notify the non-party

    before producing their Potentially Protected Material to the Prosecution Team and/or

    Defendant(s). However, if this notice would jeopardize an ongoing investigation, the Filter

    Team shall instead seek authorization from the Court on how to produce the Potentially

    Protected Material to the Defendant(s) and/or the Prosecution Team. Absent the potential to

    jeopardize an ongoing investigation, the following procedure will apply when the ostensible

    holder of the potential privilege(s) or protection(s) over any Potentially Protected Material is a

    non-party:

                 a. Existence of a JDA: The Filter Team shall produce a non-party’s Potentially
                    Protected Material to a Defendant if that Defendant is entitled to access through a
                    JDA or other document sharing arrangement.

                 b. Notice: The written notice to a non-party shall include:

                         i. The criminal case number of this proceeding;
                        ii. An electronic index identifying the Potentially Protected Material
                            scheduled for production;
                       iii. An electronic copy of the Potentially Protected Material scheduled
                            for production;
                       iv. A copy of any protective order in this case; and
                        v. A copy of this Protocol.

                 c. Objections: If the non-party objects to the Filter Team’s production of certain
                    items to Defendant(s) and/or the Prosecution Team, the non-party must send a
                    written objection to the Filter Team and counsel for Defendant(s) within thirty
                    (30) days of receiving the notice of scheduled production. The objection shall
                    include a privilege log setting forth, for each item logged:




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                     i. The Bates number range for the item;
                     ii. The item title or a description of the item’s subject matter;
                    iii. The date the item was created;
                    iv. The author(s) of the item;
                     v. The recipient(s) of the item, if any;
                    vi. Transmittal details of the item, if any;
                    vii. The party asserting the potential privilege(s) and/or protection(s);
                         and
                   viii. The legally recognized privilege(s) and/or protection(s) asserted
                         that preclude production of each item logged, including the identity
                         of any attorneys (or other persons) whose role(s) in the item at
                         issue form(s) the basis for the assertion.

             d. Non-Logged Potentially Protected Material: The Filter Team will produce to the
                Prosecution Team and Defendant(s) the Potentially Protected Material that the
                non-party does not include an objection for on the privilege log without the need
                for the Court’s approval.

             e. Failure to Object or Assert: If the non-party fails to adequately object within
                thirty (30) days of the notice of scheduled production, the Filter Team will
                provide the Prosecution Team and Defendant(s) with information regarding the
                Filter Team’s attempts to contact the non-party and the subsequent failure to
                respond. Thereafter, the Government or Defendant(s) may forego Subparagraphs
                (g)–(j) below and move the Court for a finding that the non-party waived any
                privilege(s) or protection(s) over the Potentially Protected Material identified in
                the notice of scheduled production.

             f. Failure to Comply: If a non-party fails to (i) provide to the Filter Team and
                Defendant(s) a privilege log that complies with Subparagraph (c) above, or (ii)
                meet and confer in accordance with Subparagraph (g) below, the Court may
                determine that such inactions constitute waiver of any privilege(s) and/or
                protection(s) over the Potentially Protected Material.

             g. Meet and Confer Requirement: The Filter Team shall have ten (10) days from the
                receipt of any objection(s) and required privilege log to meet and confer with the
                non-party to try and resolve any disagreements concerning the objection(s). The
                non-party and Defendant(s) shall be given notice of the date and time of the meet
                and confer and may participate through counsel.

             h. Motion to Compel: The Filter Team and/or Defendant(s) shall have ten (10) days
                from the date of the meet and confer to move to compel production of the
                disputed Potentially Protected Material. The moving party shall include with its
                motion a copy of the non-party’s objection and log, as well as a memorandum
                containing any factual or legal arguments. The moving party must also serve a


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                      copy of the motion and attachments on the non-party. Upon the Court’s request,
                      the objecting non-party shall provide a copy of the disputed Potentially Protected
                      Material to the Court ex parte and under seal for in camera review.

                   i. Response: The objecting non-party shall file a response within ten (10) days of
                      the filing of a motion to compel under this Protocol.

                   j. Reply: A party moving to compel under this Protocol shall file a reply within five
                      (5) days of the objecting non-party’s response. The moving party must also serve
                      a copy of the reply and attachments on the non-party.

             8.       An ostensible holder of any potential privilege(s) and/or protection(s) may assert

    a claim over material previously produced as non-Potentially Protected Material to Defendant(s)

    and/or the Prosecution Team by providing a written objection to the recipient Defendant(s)

    and/or the Prosecution Team detailing, with specificity, the impacted documents and basis of the

    asserted privilege(s) and/or protection(s).      The Filter Team will promptly claw back the

    identified material from the Prosecution Team. Any Defendant who is not also a holder of the

    privilege(s) and/or protection(s) (or entitled to access by virtue of a JDA or other document

    sharing arrangement) must promptly return, sequester, or destroy the identified material (and any

    copies); must not use or disclose the material until the objection is resolved; and must take

    reasonable steps to retrieve the material if the Defendant disclosed it before receiving the

    objection. The identified material will then be treated as Potentially Protected Material under

    Paragraph five (5) or six (6), whichever is applicable.

             9.       The Court retains jurisdiction to resolve any dispute or adjudicate any claim of

    privilege or protection asserted over discovery material produced pursuant to the Protocol,

    including if, and under what circumstances, a party may use the Potentially Protected Material at

    trial.

             10.      Pursuant to Federal Rule of Evidence 502(d), any Potentially Protected Material

    produced to the Prosecution Team, Defendant(s), or a non-party under this Protocol or



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    subsequent order in this proceeding, shall not constitute a waiver or forfeiture of any privilege or

    protection claim in any other federal or state judicial or administrative proceeding.

           11.     All parties have the right to present to the Court any Potentially Protected

    Material to adjudicate whether the material is indeed privileged, protected, and/or if an exception

    to any privilege or protection applies, including, but not limited to, the crime-fraud exception or

    waiver. Under Federal Rule of Evidence 502(d), a production to determine whether materials are

    privileged or protected pursuant to this paragraph shall not itself constitute a waiver or forfeiture

    of any claim of privilege or protection.

           12.     If any member of the Prosecution Team inadvertently reviews Potentially

    Protected Material, the Prosecution Team member shall immediately cease review of the

    Potentially Protected Material and turn the Potentially Protected Material over to the Filter Team

    for processing in accordance with this Protocol. Inadvertent review of Potentially Protected

    Material shall not automatically disqualify a Prosecution Team member from this matter.

           13.     The Parties and non-parties subject to this Protocol may extend its deadlines by

    written agreement or by requesting the same from the Court upon good cause shown.

           14.     The Filter Team shall provide a copy of this Protocol to all non-parties who are

    known ostensible holders of potential privilege(s) or protection(s) over any Potentially Protected

    Material within five (5) days of the entry of this Order.

           SO ORDERED.



    ___________________________
    Date

                                                          The Honorable ___________________




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                     EXHIBIT B
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                          ,QYHQWRU\5HSRUW                                          &DVH$JHQW7RQ\6HQDW


  ,5,6&DVH                     'DWH5HFHLYHG   
  ,WHP,'
                              6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                            6LWH
                                      6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                           5RRP    -
                                       'HVFULSWLRQ   $QRWHIURP5RVHWWD:LVHUH.HWLD-RVHSK$SDUWPHQWOHDVHGRFXPHQW
                                                      .HWLD-RVHSK  UHPLQLVFH#OLYHFRP$SW
                                                      &HGDU/DNH5G%R\QWRQ%HDFK)/
                                         2,,WHP
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  ,WHP,'            6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                            6LWH
                                      6LWH$GGUHVV   )HGHUDO+LJKZD\6WH%RFD5DWRQ)/
                                           5RRP    -
                                       'HVFULSWLRQ   'U9HULILFDWLRQ&KHFN/LVW
                                                      'RFWRU&KDVH7UDLQLQJ0DQXDOV /RULDQH2VRULR
                                                      &DUGLRVFULSW
                                                      %RQXVVKHHW*HQWHF6ROXWLRQV
                                                      'U&KDVHERQXV
                                                      $OOGRFWRUVFKHFNLQHSLVRGH3HFRV5HDOWLPHVHDUFKVKHHW ORJLQLQIR 
                                                      *HQWHF6ROXWLRQV0DQXDO

                                         2,,WHP
                                            6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                     'DWH5HFHLYHG   
  ,WHP,'            6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                           5RRP    -
                                       'HVFULSWLRQ   3DWLHQW/DEUHT7UDLQLQJ0DQXDO)HGH[(QYOLVWRIQDPHVDQGSKRQH
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                                         2,,WHP
                                            6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                     'DWH5HFHLYHG   
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                                            6LWH
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                                           5RRP    -
                                       'HVFULSWLRQ   &DOOLQJ,QVWUXFWLRQV(0DLO,QIRU)D[)RUPV
                                         2,,WHP
                                            6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                     'DWH5HFHLYHG   
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                                      6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                           5RRP    6
                                       'HVFULSWLRQ   6DOHV6FULSWV5HEXWWDOV7UDLQLQJPDQXDOV6DOHV'LVFORVXUH
                                         2,,WHP
                                            6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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  ,WHP,'       6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                  'HVFULSWLRQ   3DWLHQW,QIR6KHHW)D[HV'RFWRU&RPPXQLFDWLRQV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
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                                      5RRP    -
                                  'HVFULSWLRQ   +DQGZULWWHQ1RWHV3DWLHQW)RUPV*HQHWLF'HSW3KRQH1XPEHUV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
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                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   'RFXPHQW&DOO'U2IILFH/DE5HVXOWV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
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                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   6FULSW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                      5RRP    :
                                  'HVFULSWLRQ    <HOORZ/HJDO3$'ZLWKQDPHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                  'HVFULSWLRQ   8VHUQDPH 3DVVZRUGV*HQHWLF/DE6WDWHV&DUGLDF6DOHVGLVFORVXUH
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                      5RRP    -
                                  'HVFULSWLRQ   (PSOR\HH([W/LVW*HQHWLF6ROXWLRQV)ROGHU
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
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                                      5RRP    -
                                  'HVFULSWLRQ   ([WHQVLRQ/LVW5HEXWWDO)RUP3KRQH1XPEHUV%RQXV,QIRUPDWLRQ
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                      5RRP    -
                                  'HVFULSWLRQ   $JHQWERQXVLQIRQRWHERRNZ3:VFRQWDFWV*HQWHFOLVWRIODEV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                  'HVFULSWLRQ   'RFWRU9HULILFDWLRQ)RUPV&KHFN/LVWVHWF
                                    2,,WHP
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                  'HVFULSWLRQ   /LQH7UDQVIHU6FULSWV6WDWH/LVW(PSOR\HH1RWHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
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                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   5HEXWWDOV6KHHWQRWHSDG
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                  'HVFULSWLRQ   5HEXWWDO6KHHW/LYH7UDQVIHU6FULSW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
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                                      5RRP    6
                                  'HVFULSWLRQ   &DUGLDF6DOHV6FULSWVFULSWUHEXWWDOVKLJKEORRGSUHVVXUHPHGFDUGLDF
                                                 VDOHVGLVFORVXUH
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  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                      5RRP    6
                                  'HVFULSWLRQ   &DUGLDFVDOHVGLVFORVXUHVFULSWQHZFDUGLDFVDOHVUHSRUWVFULSW
                                    2,,WHP
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   )D[UH3WWHVWLQJQRWHSDGVZQDPHVSKRQHLQVWUXFWLRQVFDOOQRWHV
                                                 LQWDNHIRUPV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   6DOHV'LVFORVXUH6FULSW
                                    2,,WHP
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    -
                                  'HVFULSWLRQ   %OXH)ROGHU7UDLQLQJ0DWHULDOV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
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                                      5RRP    6
                                  'HVFULSWLRQ   6DOHV6FULSWVQRWHSDGUHPRQH\ GHDOVKDQGZULWWHQQRWHUHI
                                                 PRQH\
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   3DVVZRUG3DVVZRUG6KHHW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   $JHQWERQXV'U&KDVH7HDPFRQWDFWOLVW7HVLV&ODUR/DE6WDWHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   &DUGLDFVDOHVVFULSW0HGLFDUHGRFUHEXWWDOVWHVWLQJSURFHVV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   6DOH6FULSW6DOH'LVFORVXUH5HEXWWDOV7UDLQLQJ0DWHULDOV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


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  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   1RWHSDGZLWKSDWLHQWQDPHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   1RWHSDGZLWKFDOOEDFNUHFRUGV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   /DE6WDWH6HOHFWLRQ'U9HULILFDWLRQFKHFNOLVW'U9HULILFDWLRQ
                                                 UHTXLUHPHQWVERQXVVKHHWV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   /LYH7UDQVIHUDJHQWVVKHHWFODURVWDWHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    -
                                  'HVFULSWLRQ   3DWLHQW,QIR'RFV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   &KHFNOLVWXVHUQDPH SDVVZRUGVODEFKDQJHRQRUGHU&ODUR/DEV
                                                 6WDWHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   3URJHQL[UHTIRUPV*HQHWLFSDFNHWV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   %RQXV6KHHWQDPH ([W6KHHW*HQHWLF6ROXWLRQ/DE6WDWH
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   (PSOR\HH/LVW/DE6WDWHV0DQXDO8VHUQDPH3DVVZRUG'U&KDVH
                                                 7HDP6KHHW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   5HEXWWDOV,QVXUDQFH1RWHV6DOHV6FULSW6WLFN\1RWHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    -
                                  'HVFULSWLRQ   7UDLQLQJPDQXDO)D[WR'URIILFH
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   3KRQH,QVWUXFWLRQV/LVWRIQDPHVXVHU,''UYHULILFDWLRQFKHFNOLVWV
                                                 ODEVWDWHVOLVW&KDVH3URJUDP
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   1RWLFHRILQWHQWFDUGLRP\RSDWK\DXWRTXDOLILFDWLRQ
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   1HZ&DUGLDF6DOHV6FULSWFDUGLDFVDOHVGLVFORVXUH5HEXWWDOVSDJH
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   6DOHV6FULSW6DOHV'LVFORVXUH5HEXWWDOV3URFHVV,QIR6KHHW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   $'3HDUQLQJVVWDWHPHQWFDUGLRYDVFXODUWHVWUHT)RUPV&HQWHF
                                                 6ROXWLRQV)D[&RYHUV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    -
                                  'HVFULSWLRQ   )LQDQFLDO6WDWHPHQWV0LVF)RUPV)D[7UDQVPLVVLRQV1RWH3DG6WLFN\
                                                 1RWH
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   /LYH7UDQVIHU6FULSWV%DG6WDWH/LVW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   1RWHSDGZQDPHV QXPEHUV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   1RWHVZQDPHV HPDLO
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   &RQWDFWLQIR*HQWHF)D[3DJH&ODUR/DEV6WDWHV/XFLR2UR)ROGHU
                                                 &DUGLRP\RSDWK\3DQHORI*HQHV*HQH'[7HVW,QIR
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   7HVLV/DEVUHTIRUP&DUGLRP\DSDWK\DXWRTXDOLILFDWLRQIRUPFRQWDFW
                                                 LQIR%DG6WDWH/LVW7D[LQIR$FFWV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   'RFVUHNLWFKDVH
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   3DWLHQW1RWHV5HTXLVLWLRQRUGHUV7UDLQLQJ0DQXDOV&DOO6FULSWV3KRQH
                                                 /LVWV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    8
                                  'HVFULSWLRQ   %DQN'RFVQRWHVOHGJHUHPDLOV3:V,QYRLFHVWD[GRFVSXUFKDVH
                                                 RUGHU
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    9
                                  'HVFULSWLRQ   )LQDQFLDO3D\UROO7D['RFV3URF&RGHV0HGLFDUH$SV3DWLHQWQDPHV
                                                 /DE&HUWV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   3URFHGXUHIRU6DOLYD6DPSOH&ROOHFWLRQVSHFLPHQNLW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   3RVW,WQRWHVFDOOVFULSWV3URJHQL[3DWLHQW,QIRUPDWLRQ
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    )
                                  'HVFULSWLRQ   7HVW5HVXOWV%ODQN)RUPV'RFWRU1RWHV)ROGHU'0(&RPSDQ\/LVW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   3KRQH6FULSW'RFVJRE\QRWHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    1
                                  'HVFULSWLRQ   )LQDQFLDO5HFRUGV+DQGZULWWHQ1RWHV0LVF5HFRUGV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   6DOHV'LVFORVXUH5HEXWWDOV+DQGZULWWHQ1RWHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    1
                                  'HVFULSWLRQ   0DQDJHPHQW6HUYLFHV$JUHHPHQW%DQNLQJ,QVWUXFWLRQV:LUH7UDQVIHU
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   6FULSW5HEXWWDOV*HQHWLF7HVW3URFHVVEDQNLQIRSDWLHQWFKDUW
                                                 QRWHSDG
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    6
                                  'HVFULSWLRQ   5HEXWWDOV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   /LYH7UDQVIHUVFULSWOLYHWUDQVIHUFDOOEDFNVFULSW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   +DQGZULWWHQQRWHVHQGRIFDOOVFULSW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   &DOO6FULSWVFDUGLDFVDOHVGLVFORVXUHKDQGZULWWHQQRWHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    1
                                  'HVFULSWLRQ   :LUH7UDQVIHUV/HDVH'RFV&RUSRUDWH5HFRUGV2WKHU5HFRUGV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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                                    Page 20 of 152
  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   %HQHILWVRIJHQHWLFWHVWLQJZQRWHVNLW&KDVHQRWHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    1
                                  'HVFULSWLRQ   )LQDQFLDO7UDQVDFWLRQV$FFRXQWLQJ5HFRUGV%DQN5HFRUGV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   )D[7UDQVPLVVLRQV&DOO/LVW'RFWRU&KDVH7HDP/LVW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    1
                                  'HVFULSWLRQ   0'$&RQVXPHUV&KHFNERRN:LUH7UDQVIHU5HFHLSWV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   6DOHV6FULSW&DOO,QVWUXFWLRQV'U 3DWLHQWQDPHV*HQWHF3DPSOHW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   7D[5HFRUGV1RWHVRQ1RWHERRN3DSHU5LVN$VVHVVPHQW7HVW
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   %DG6WDWH/LVW1RWHSDGZQDPHV'2%V'U 0HGLFDUH
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    -
                                  'HVFULSWLRQ   0LVF+DQGZULWWHQ1RWHV6SLUDO-RXUQDO0LVF6FULSWV'LUHFWRULHV
                                                 5HTXLVLWLRQ)RUPV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    1
                                  'HVFULSWLRQ   )LQDQFLDOV//&5HLQVWDWHPHQW1RWHERRNV5HG)ROGHUZLWK'RFV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP    -
                                  'HVFULSWLRQ   'RFWRU&KDVH7UDLQLQJ0DQXDOV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   0RQH\:KHHO
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    9
                                  'HVFULSWLRQ   0XOWLSOHELQGHUVVKLSSLQJPDQDJHPHQWROGHPSOR\HHVHPSOR\HH
                                                 IRUPVRWKHUILQDQFLDOUHFRUGV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   1RWHSDGVZKDQGZULWWHQQRWHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   1RWHSDGVZSDWLHQWLQIR
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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                                              on FLSD Docketon10/11/2022
                                                               FLSD Docket 04/11/2022
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    6
                                  'HVFULSWLRQ   6DOHV6FULSWV 'LVFORVXUHV 5HEXWWDOV&DUGLRDXWRTXDOLILFDWLRQ
                                                 QDPHVSKRQHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    ,
                                  'HVFULSWLRQ   &RQWHQWVRIVKUHGELQFRQWDFWOLVWVERQXVSURJUDPVWUDLQLQJPDQXDOV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    -
                                  'HVFULSWLRQ   *HQWHFRUGHUVXVHUQDPHVWUDLQLQJPDQXDOVQRWHVID[HVUHTXLVLWLRQV
                                                  RWKHUGRFV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    7
                                  'HVFULSWLRQ   7UDLQLQJ0DQXDOV0DQDJHPHQW1RWHV%LOOLQJ,QIR6WDWH,QIR'LDJQRVLV
                                                 *XLGHOLQHV7HVWLQJ5HJV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    3
                                  'HVFULSWLRQ   0LVF%DQN5HFRUGV3RVW,W1RWHV/HDVH$SSOLFDWLRQV0LVF%LOOLQJ
                                                 1RWHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    9
                                  'HVFULSWLRQ   0XOWLSOHZKLWHELQGHUV'U&KDVH%LQGHUV%OXH6SLUDO1RWHERRN
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    .
                                  'HVFULSWLRQ   3URJHQL[0HGLFDO2UGHUV6ZDE.LWVIRU/DE6HUYLFHV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    .
                                  'HVFULSWLRQ   )URP6KDQH*OHQQ'HVN1RWHVDQG5HTXLVLWLRQ)RUPV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
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                                      5RRP    +
                                  'HVFULSWLRQ   3DWLHQW5HFRUGV&06UHFRUGV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP
                                  'HVFULSWLRQ   2,:'+DUG'ULYH61:0&&'&7FRQWDLQVLPDJHRI
                                                 6&DUYHU,3KRQH
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
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                                      5RRP    +
                                  'HVFULSWLRQ   &HUJHQD/DEV/LFHQVH$FFXJHQH&HUWLILFDWHRIUHJLVWUDWLRQ
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    ,
                                  'HVFULSWLRQ   )D[&DOO6FULSW/DE6WDWH)RUP'RFWRU&KDVH7UDLQLQJ3DVVZRUG,QIR
                                                 )D['RFV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
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                                      5RRP
                                  'HVFULSWLRQ   L3KRQH3UR0D[&DUYHUL61)/)01'&
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
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                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    .
                                  'HVFULSWLRQ   $FFXJHQH&HUJHQDDQG3URJHQL[SDWLHQWRUGHUVFDUGLDFVDOHVVFULSW
                                                 HPDLOSDVVZRUGV*HQWHF7HDPV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052
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  ,WHP,'      6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP
                                  'HVFULSWLRQ   +33DYLOLRQ/DSWRS61&*/;
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
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                                       6LWH
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                                      5RRP
                                  'HVFULSWLRQ   +3'HVNWRS3UR'HVN610;/*%%65+'
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'     6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    ,
                                  'HVFULSWLRQ   2QHZKLWHELQGHUZLWKVFULSWVDQGSROLFLHVWHVWUHVXOWVDPHQGHG
                                                 FRQWUDFW&RQFRUG6HUYLFHV:0*)LOHV'U&KDVH0DQDJHPHQW*HQHWLF
                                                 &RXQVHORU
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'     6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
                                      5RRP
                                  'HVFULSWLRQ   +3'HVNWRS3UR'HVN610;/*'*65.'
                                    2,,WHP
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'     6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+LJKZD\%RFD5DWRQ)/
                                      5RRP    /
                                  'HVFULSWLRQ   3URJHQL[3DWLHQW2UGHUV
                                    2,,WHP
                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
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                                  'HVFULSWLRQ   'HOO'HVNWRS61-%659'
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                                      5RRP    .
                                  'HVFULSWLRQ   &ODUR/DEV'RFV6KLSSLQJ)RUPVEHQHQDPHVODELVVXHVFRQWDFWLQIR
                                                 VFUXEELQJSURFHVV)OXJHQW)RUPV
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  ,WHP,'     6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
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                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
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                                  'HVFULSWLRQ   $SSOH/DSWRS61&3:/56'7<651/
                                    2,,WHP
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  ,5,6&DVH                'DWH5HFHLYHG   
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                                      5RRP    1
                                  'HVFULSWLRQ     PDQLODIROGHUVIRU1(522QH%LQGHU-33HUVRQDO%LQGHU&KDVH
                                                 %LQGHU1HUR0HG7HFK%LQGHU
                                    2,,WHP
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  ,5,6&DVH                'DWH5HFHLYHG   
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                                       6LWH
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                                  'HVFULSWLRQ   $SSOH/DSWRS61&<*=-*-651/
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  ,5,6&DVH                'DWH5HFHLYHG   
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                                  'HVFULSWLRQ   +3'HVNWRS6102)0665-'
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                                       6WDWXV   ,10LDPL5HJLRQDO2IILFH 052


  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'     6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
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                                  'HVFULSWLRQ   'HOO'HVNWRS61'1116651'
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  ,5,6&DVH                'DWH5HFHLYHG   
  ,WHP,'     6RXUFH2EWDLQHG)URP   '0&*URXS+ROGLQJ//&
                                       6LWH
                                 6LWH$GGUHVV   )HGHUDO+Z\%RFD5DWRQ)ORULGD
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                                  'HVFULSWLRQ   +3'HVNWRS +DUG'ULYH 618$651'
                                    2,,WHP
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                                       6LWH
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                                       6LWH
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                                  'HVFULSWLRQ   3UH(PSOR\PHQW9HULILFDWLRQ%DQN5HFRUGV6WLFN\1RWHV
                                                 8VHUQDPH3DVVZRUG,QIR
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                                       6LWH
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                                      5RRP    0XOWLSOH
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 19-CR-80196-SINGHAL


   UNITED STATES OF AMERICA,

   vs.

   RICHARD GARIPOLI,

                          Defendant.
                                          /

         ORDER GRANTING IN PART AND DENYING IN PART THE GOVERNMENT’S
          MOTION FOR A DISCOVERY PROTOCOL GOVERNING DISCLOSURE OF
                MATERIAL SUBJECT TO CLAIMS OF PRIVILEGE [DE 48]

            THIS CAUSE is before the Court upon the Government’s Motion for a Discovery Protocol

   Governing Disclosure of Material Subject to Claims of Privilege (“Motion”) [DE 48]. The Motion

   was referred to the undersigned by the Honorable Raag Singhal, United States District Judge. See

   DE 49. The Court held a hearing on the Motion via Zoom video teleconference (VTC) on March

   2, 2021. After hearing the argument of the parties and making certain oral rulings, the Court

   required the Government to submit a proposed order to the Court incorporating those rulings. The

   Government submitted the proposed order on March 11, 2021, noting that defense counsel

   approved it. Having considered the Motion, and for good cause shown,

            it is hereby ORDERED as follows:

         1. The Motion [DE 48] is GRANTED IN PART AND DENIED IN PART, and the protocol

   set forth in Paragraphs 2-10, below (hereafter “Protocol”), shall govern the disclosure of discovery

   material that have been or are potentially subject to claims of privilege (hereafter “Potentially

   Protected Material”) by Defendant and third-parties in this case.
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Coley, Timothy J. (CRM)

From:                      Alyssa Silvaggi <ASilvaggi@royblack.com>
Sent:                      Friday, April 1, 2022 5:08 PM
To:                        Coley, Timothy J. (CRM)
Cc:                        Howard Srebnick; Benjamin S. Waxman; Edward J. Armellino
Subject:                   [EXTERNAL] RE: United States v. Carver - case scheduling/complex designation



Hi Tim,

I tried to reach you via phone earlier today to discuss modifications to your proposed
protocol order, but was unsuccessful. Our position on the proposed protocol order
remains the same                                                       – that we object
generally to filter teams comprised of government attorneys.

At a minimum, we request the following modifications to the proposed protocol order:

     x     Add the following language: “The Filter Team shall not share a first-level
           supervisor with anyone on the investigative/prosecution team (the "Prosecution
           Team"). Any supervisor involved in the filter team review shall be walled off from
           the underlying investigation.”
     x     Remove the following clause: “Failure to Comply: If the ostensible holder of the
           potential privilege(s) or protection(s) fails to (i) provide to the Filter Team and Co-
           Defendant(s) a privilege log that complies with Subparagraph (b) above, or (ii)
           meet and confer in accordance with Subparagraph (f) below, the Court
           may determine that such inactions constitute waiver of any privilege(s) and/or
           protection(s) over the Potentially Protected Material.”
     x     Allow us 30 days to review any material the Filter Team deems as non-PPM
           before release to the Prosecution Team

Please advise your position on our proposed modifications. We remain available to
discuss.

Thank you,


Alyssa Silvaggi
Attorney


                                                        O 305-371-6421
                                                        D 305-350-8340
                                                        M 954-802-9414
                                                        www.royblack.com
Notice: This communication, including attachments, may contain information that is confidential and protected by the attorney/client or other privileges. It

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constitutes non-public information intended to be conveyed only to the designated recipient(s). If the reader or recipient of this communication is not the
intended recipient, an employee or agent of the intended recipient who is responsible for delivering it to the intended recipient, or you believe that you
have received this communication in error, please notify the sender immediately by return e-mail and promptly delete this e-mail, including attachments
without reading or saving them in any manner. The unauthorized use, dissemination, distribution, or reproduction of this e-mail, including attachments, is
prohibited and may be unlawful. Receipt by anyone other than the intended recipient(s) is not a waiver of any attorney/client or other privilege.

From:Coley,TimothyJ.(CRM)<Timothy.J.Coley@usdoj.gov>
Sent:Tuesday,March29,20222:30PM
To:Rafferty,BrianT.<brafferty@bakerlaw.com>;stevesadow@gmail.com;RobynLynnSztyndor<rls409@nyu.edu>;
HowardSrebnick<HSrebnick@royblack.com>;AlyssaSilvaggi<ASilvaggi@royblack.com>;VictorSherman
<victor@victorsherman.law>;AustinKrtausch<Austin.Krtausch@grayͲrobinson.com>;Mehta,Jason
<jmehta@bradley.com>;Jack@goldbergerweiss.com;MatthewGoldberger<matthew@goldbergerfirm.com>;Keith
Fousek<kfousek1@gmail.com>;ask_pa@bellsouth.net;robert_adler@fd.org
Cc:CikoTorza,Lindita(CRM)<Lindita.Ciko.Torza@usdoj.gov>
Subject:RE:UnitedStatesv.CarverͲcasescheduling/complexdesignation

Counsel,

Followinguptheemailbelow,attachedpleasefindaproposedfilterprotocolorder.Pleaseadviseby5PMEasternthis
FridayApril1,2022whetheryouopposetheattachedprotocol.

Ifyouhavequestionsorwouldliketodiscusstheprotocol,pleaseadvise,andwecansetupatimetodiscuss.

Thanks,
Tim

Timothy J. Coley
Trial Attorney, Fraud Section
U.S. Department of Justice (CRM)
Cell: 202-262-6631
Email: Timothy.J.Coley@usdoj.gov

From:Queenan,Patrick(CRM)<Patrick.Queenan@usdoj.gov>
Sent:Tuesday,March22,20222:38PM
To:Rafferty,BrianT.<brafferty@bakerlaw.com>;stevesadow@gmail.com;RobynLynnSztyndor<rls409@nyu.edu>;
HowardSrebnick<HSrebnick@royblack.com>;AlyssaSilvaggi<ASilvaggi@royblack.com>;VictorSherman
<victor@victorsherman.law>;AustinKrtausch<Austin.Krtausch@grayͲrobinson.com>;Mehta,Jason
<jmehta@bradley.com>;Jack@goldbergerweiss.com;MatthewGoldberger<matthew@goldbergerfirm.com>;Keith
Fousek<kfousek1@gmail.com>;ask_pa@bellsouth.net;robert_adler@fd.org
Cc:CuylerJr.,Reginald(CRM)<Reginald.Cuyler.Jr@usdoj.gov>;Coley,TimothyJ.(CRM)<Timothy.J.Coley@usdoj.gov>;
CikoTorza,Lindita(CRM)<Lindita.Ciko.Torza@usdoj.gov>;Nadler,Arielle(CRM)<Arielle.Nadler@usdoj.gov>
Subject:UnitedStatesv.CarverͲcasescheduling/complexdesignation

GoodafternoonCounsel,

Thegovernmentisproposingtodesignatethecasecomplexandextendthetrialdateouttoallowthepartiessufficient
timetopreparefortrial.Wehavedraftedtheattachedproposedjointmotionforyourreviewandconsideration.In
summary,weseektopushthetrialdateoutduetothenumberofdefendants,thevolumeofdiscovery,natureof
prosecution,andfilterreviewneeded.

Recently,JudgeCannonenteredaprotectiveorder.Thegovernmentwillnowfileitsfirstresponsetothestanding
discoveryorderandwillalsosendoutthefirstproduction(thumbdriveviaFedex)tomorrow.Asecondproductionwill
followinthenext1Ͳ2weekswith302sandotheritems.


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Asforthefilterreview,IhavecopiedTimColeyandLinditaCikoTorzafromtheSpecialMattersUnit.Theywillfollowup
withaproposedprotocolforyourreviewandconsideration.OncethefilterprotocolisapprovedbytheCourt,itsounds
likethefilterteamwillneedupto60Ͳ90daystocompleteitsreviewandproduceallmaterialstotheprosecutionteam
anddefensecounsel.Thereareapproximately620,000documentssubjecttofilterreview.

ArefolksavailabletomorrowafternoonforacalltoconferongatheringsomeproposedtrialdatestoproposetoJudge
Cannoneitherinajointmotion(suchastheattached)orbyrequestingaschedulingconference?Weareavailable
between3Ͳ4porafter5ptomorrow.

Thanks,

PatrickJ.Queenan
TrialAttorney,HealthCareFraudUnit
DepartmentofJustice
CriminalDivision,FraudSection
(202)875Ͳ0326
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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                       Case No. 21-CR-20321-ALTONAGA/TORRES

   UNITED STATES OF AMERICA

          Plaintiff,

   v.

   MICHAEL STEIN, and
   LEONEL PALATNIK,

         Defendants.
   __________________________________/

        ORDER ON GOVERNMENT’S MOTION FOR DISCOVERY PROTOCOL

          This matter is before the Court on the government’s Motion for a Discovery

   Protocol Governing Disclosure of Material Subject to Claims of Privilege. [D.E. 33]. 1

   Having carefully considered the government’s motion, Defendant Stein’s response in

   opposition, 2 the government’s reply, and being fully advised in the premises, the

   government’s motion is GRANTED in part and DENIED in part.

                                 I.     BACKGROUND

          Pursuant to a series of search warrants, the government seized materials

   belonging to Defendant Stein. Emails and text messages account for a significant

   amount of the materials seized by the government, and it is undisputed that some of

   these communications involve Defendant Stein and his legal counsel. Additional


   1      This matter was referred to the undersigned Magistrate Judge. [D.E. 44].

   2     Defendant Stein’s Motion to Reconsider [D.E. 43] shall be deemed an
   opposition to the government’s motion.
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   discovery materials were also voluntarily provided to the government by a third

   party. The government is cognizant that some of the seized materials and voluntarily

   produced materials qualify as Potentially Protected Material (“PPM”), which is

   material that could potentially garner the protections of the attorney-client privilege,

   work product doctrine, or other legally recognized privileges. Accordingly, the

   government has designated a “Filter Team” 3 to review these materials so that PPM

   can be identified, segregated, and placed into a privilege-dispute protocol before the

   PPM is provided to the Prosecution Team in this case.

         Based on the foregoing, the government, through its Filter Team, moved this

   Court to enter a protocol governing the disclosure of discovery materials that have

   been or are potentially subject to claims of privilege. Accordingly, the government has

   submitted a Proposed Protocol, which provides detailed and orderly processes for

   disputing the privileges associated with any discovery material in this case. See [D.E.

   33, Ex. A].

         Finding the Proposed Protocol unsatisfactory, Defendant Stein objects to its

   entry and instead argues that the protocol must be modified to avoid the violation of

   his rights as a privilege holder. 4 The most substantive modification proposed by


   3      The government represents to this Court that the Filter Team is within the
   U.S. Department of Justice, Criminal Division, Fraud Section’s Special Matters Unit
   and has a separate reporting and supervisory chain from the Prosecution Team in
   this case. The Filter Team is comprised of staff who are not part of the Prosecution
   Team. Thus, the Filter Team only conducts the filter review and is not involved in
   the investigation or proceedings related to the above-captioned matter.

   4      As a threshold grievance, Defendant Stein objects to the use of any filter team
   that is affiliated with the government. He recognizes, however, that the Eleventh
   Circuit has flatly rejected the notion that a government filter team is per se improper.
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   Defendant Stein is that he, not the government-led Filter Team, should be

   empowered to conduct the initial privilege review of both the seized materials and

   the voluntarily produced materials. [D.E. 43 at 15].

                                    II.    ANALYSIS

         Defendant Stein primarily relies on the recent Korf decision to explain why the

   Proposed Protocol provides insufficient protection of his rights as a privilege holder.

   See In re: Sealed Search Warrant and Application for Warrant by Telephone or Other

   Reliable Electronic Means (“Korf”), 11 F.4th 1235 (11th Cir. 2021). Although Korf is

   instructive, it does not mandate some of the atypical relief sought by Defendant Stein,

   to wit: the institution of his own filter team that is empowered to conduct the initial

   privilege review.

         In Korf, the government lawfully searched and seized materials from an office

   space in Miami that belonged to a family of companies that were being investigated

   for money laundering, conspiracy, and wire fraud. Id. at 1239. This particular office

   included space for the companies’ in-house legal counsel. Id. at 1240. Accordingly,

   materials associated with the in-house counsel’s office were seized by the government.

   Id. At the time, the companies were entangled in numerous legal disputes, including



   [D.E. 43 at 6 n. 4]. Accordingly, the Court rejects this argument without further
   discussion.

         Defendant Stein also requested a hearing to determine whether any privileged
   documents have already been reviewed by the Prosecution Team. [D.E. 43 at 15].
   Because the government replied that no PPM has been inadvertently disclosed to the
   Prosecution Team (and because this Protocol Order empowers Defendant Stein to
   move this Court for relief if he later believes that such inadvertent disclosure has
   occurred), the Court finds that a hearing is unnecessary at this time. [D.E. 45 at 9].
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   a civil action in Delaware. Id. at 1242. The Delaware lawsuit was not entirely

   factually disconnected from the government’s criminal investigation into the

   companies, and so the privilege-holders were particularly concerned that the

   materials seized from the Miami office would provide the government with a

   “roadmap” to their legal defenses in the criminal case. Id. at 1241. Cognizant of the

   substantial risk that the prosecution team in Korf would review privileged material

   seized from the Miami office because the original filter-team protocol required the

   filter team to segregate only communications that were “to/from attorneys,” the

   magistrate judge implemented a modified filter-team protocol that required in part

   the privilege-holders to conduct the initial privilege review. Id. at 1242-43. The

   Eleventh Circuit found that the magistrate judge’s modification was not an abuse of

   discretion. Id. at 1252.

         Here, Defendant Stein appears to argue that the Eleventh Circuit’s approval

   of the modified filter-team protocol in Korf created a baseline for all other filter-team

   protocols, thereby requiring this Court to find that the Proposed Protocol is

   insufficient because it does not provide Defendant Stein with the opportunity to

   conduct the initial privilege review of the materials seized by (or voluntarily given to)

   the government. [D.E. 43 at 8-14]. But Korf expressly did not create such a baseline.

   Id. at 1251 n.10 (“We do not prejudge other filter protocols that are not before us.

   Rather, we evaluate only the Modified Filter-Team Protocol and simply conclude that,

   under the circumstances here, that Protocol suffices, even under frameworks of

   analysis that other Circuits have used to invalidate other protocols.”).



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         By contrast, the Eleventh Circuit directly acknowledged that walled-off,

   government-led filter teams have been approved of or recognized without criticism by

   the Second, Third, Fourth, Seventh, Eighth, Ninth, and Tenth Circuits. Id. at 1249

   (collecting cases). We see no indication or hint from the opinion that our Circuit was

   criticizing or rejecting those particular approaches in a given case. Accordingly, we

   do not find that the Proposed Protocol is insufficient simply because it allows the

   initial privilege review to be conducted by a government-led Filter Team.

         Unlike in Korf – or in Baltimore Law Firm, 5 another case relied upon by

   Defendant Stein, for that matter – the government has not seized materials from a

   lawyer’s office. So, the especially sensitive posture of Korf and Baltimore Law Firm

   are not present in our record. Rather, it appears that some of Defendant Stein’s

   seized communications may be protected by one or more legally recognized privileges,

   but a great deal of other documents seized may not. So, unlike the record Korf

   presented, the Proposed Protocol in our case does not appear underinclusive because

   it does not limit the Filter Team’s segregation obligations to only the attorney-client

   privilege and adequately protects Defendant’s legitimate interests in protecting his

   privileged material.

         But that is not to say that the Court lacks any reservations about the Proposed

   Protocol. Indeed, it is undisputed that the government possesses communications

   between Defendant Stein and his lawyer. Thus, there is a risk that the Prosecution


   5      In re: Search Warrant Issued June 13, 2019 (“Baltimore Law Firm”), 942 F.3d
   159 (4th Cir. 2019) (finding the use of a government-led filter team to be an
   insufficient mechanism for protecting the privilege-holders’ rights).


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   Team could become privy to a “roadmap” of Defendant Stein’s legal defenses if a

   protocol is not implemented to keep such communications from being reviewed by the

   Prosecution Team. As Defendant Stein correctly points out, the Court should ensure

   that any government-led filter-team protocol is “respectful of, rather than injurious

   to, the protection of privilege.” See In re Grand Jury Subpoenas 04-124-03 and 04-

   124-05 (“Winget”), 454 F.3d 511, 522-23 (6th Cir. 2006). 6 Although the government,

   through its Filter Team, represents to the Court that the Filter Team has a separate

   supervisory and reporting chain from the Prosecution Team, nothing in the Proposed

   Protocol explicitly requires that wall to be in place. Moreover, despite the Filter

   Team’s representation that it will work with Defendant Stein and his counsel to

   develop the PPM-related keyword search terms that will enable the Filter Team’s

   segregation efforts, nothing in the Proposed Protocol requires the government to do

   so. Surely, if the Filter Team intends to protect all of Defendant Stein’s legal

   privileges, it will need to engage in such collaboration. Accordingly, having carefully

   considered the issue as well as the parties’ arguments and the governing law,

   modifications must be made to the Proposed Protocol to sufficiently protect any

   potential privilege-holder’s rights.




   6     The Court notes that Defendant Stein also relies on Winget for the proposition
   that he should be allowed to conduct the initial privilege review, but that case is so
   factually distinguishable that it cannot justify such atypical relief. Unlike in Winget,
   the government already possesses the materials at issue in this case.


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                                    III.   CONCLUSION

           Based on the foregoing, it is hereby ORDERED AND ADJUDGED that the

   government’s motion [D.E. 33] is GRANTED in part and DENIED in part as follows:

           1.      The parties shall adhere to the following modified filter-team protocol

   (the “Protocol”), which shall govern the disclosure of Potentially Protected Material 7

   in this case.

           2.      The Protective Order issued on June 14, 2021 [D.E. 10] shall apply to

   any discovery material produced by the filter team established by the United States

   in this case (the “Filter Team”) to Defendants or a third-party pursuant to the

   Protocol.

           3.      The Filter Team shall not share a first-level supervisor with anyone on

   the investigative/prosecution team (the “Prosecution Team”). Any supervisor involved

   in the filter team review shall be walled off from the underlying investigation.

           4.      The Filter Team shall segregate the Potentially Protected Material from

   the Prosecution Team, unless a court order or the claimant entitled to assert the

   privilege authorizes the release of Potentially Protected Material to the Prosecution

   Team.

           5.      The Filter Team shall segregate Potentially Protected Material from

   Defendant(s), unless the privilege holder or a court order authorizes the release of

   the Potentially Protected Material to the specific recipient.



   7     “Potentially Protected Material” is discovery material that is potentially
   protected from disclosure by the attorney-client privilege, work-product doctrine, or
   any other legally recognized privilege or protection.
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         6.      To effectuate its review, identification, and segregation efforts pursuant

   to this Protocol, the Filter Team shall collaborate with and receive input from the

   Defendant(s) to determine the appropriate keyword search terms within thirty (30)

   days from the entry of this order.

         7.      The Filter Team shall release discovery material that is not Potentially

   Protected Material for production to the Prosecution Team and Defendant(s).

         8.      If a Defendant is the potential privilege holder or is entitled to access

   the Potentially Protected Material through a Joint-Defense Agreement (“JDA”), the

   Filter Team shall produce a full copy of the Potentially Protected Material to the

   Defendant within thirty (30) days of the entry of this Protocol Order. 8

         9.      If a Defendant is the potential privilege holder of the Potentially

   Protected Material, the Filter Team shall notify that Defendant before releasing any

   of the Defendant’s Potentially Protected Material to the Prosecution Team or a Co-

   Defendant who is not entitled to access by virtue of a JDA under the following

   conditions:

                 a.          Notice: The written notice to the Defendant potential privilege
                             holder shall include:

                        i.         An electronic index identifying the Potentially Protected
                                   Material scheduled for release;

                       ii.         The anticipated date of the release to the Prosecution Team
                                   and/or Co-Defendant(s); and

                      iii.         A copy of this Protocol Order.



   8     Unless otherwise noted, dates and times in this Order shall be computed
   according to Federal Rule of Criminal Procedure 45.
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               b.          Objections to Production or Asserting Privilege Claims: If the
                           Defendant potential privilege holder objects to the Filter Team’s
                           production of certain items to Co- Defendant(s) or the Prosecution
                           Team, the Defendant privilege holder must send a written
                           objection to the Filter Team and counsel for Co-Defendant(s)
                           within thirty (30) days of receiving the notice of scheduled release.
                           The objection shall include a privilege log setting forth for each
                           item logged:

                      i.         The Bates number range for the document;

                     ii.         The document title or a description of the document’s
                                 subject matter;

                    iii.         The date the document was created;

                    iv.          The author(s) of the document;

                     v.          The recipient(s) of the document;

                    vi.          The privilege holder(s) asserting the claim; and

                    vii.         The privilege(s) and/or protection(s) asserted that preclude
                                 production of each document logged (e.g., attorney-client
                                 privilege, work product doctrine protection, or other legally
                                 recognized privilege or protection).

               c.          Non-Logged Potentially Protected Material: The Filter Team will
                           release to the Prosecution Team and Co-Defendant(s) the
                           Potentially Privileged Material that the Defendant privilege
                           holder does not include on the privilege log without the need for
                           the Court’s approval.

               d.          Failure to Object or Assert: If the Defendant privilege holder fails
                           to adequately object within thirty (30) days of the Filter Team’s
                           notice of scheduled release, the Filter Team will provide the
                           Prosecution Team and Co-Defendant(s) with information
                           regarding the Filter Team’s attempts to contact the Defendant
                           potential privilege holder and the subsequent failure to respond.
                           Thereafter, the Government or Co-Defendant(s) may forego
                           Subparagraphs (f)–(i) below and move the Court for a finding that
                           the Defendant privilege holder has waived any protections over
                           the Potentially Protected Material identified in the notice of
                           scheduled release.

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                e.    Failure to Provide a Privilege Log: If a Defendant potential
                      privilege holder fails to (i) provide to the Filter Team and Co-
                      Defendant(s) a privilege log that complies with Subparagraph (b)
                      above, or (ii) meet and confer in accordance with Subparagraph
                      (f) below, the Court may determine that such inactions constitute
                      waiver of any protections over the Potentially Protected Material.

                f.    Meet and Confer Requirement: After the Filter Team receives an
                      objection and required privilege log from the Defendant potential
                      privilege holder, the Parties shall have ten (10) business days to
                      meet and confer to try to resolve any disagreements concerning
                      the production objection. 9

                g.    Motion to Compel: The Filter Team or Co-Defendant(s) shall have
                      ten (10) business days from the date of the meet and confer to
                      move to compel production of the Potentially Protected Material.
                      The moving party shall include with its Motion a copy of the
                      Defendant potential privilege holder’s privilege log and a
                      memorandum containing any factual or legal arguments. Upon
                      the Court’s request, the party asserting the privilege shall provide
                      a copy of the disputed Potentially Protected Material to the Court
                      ex parte and under seal for in camera review.

                h.    Response: The Defendant potential privilege holder shall file a
                      response within ten (10) business days of the filing of a motion to
                      compel under this Protocol.

                i.    Reply: A party moving to compel under this Protocol shall file a
                      reply within five (5) business days of the Defendant potential
                      privilege holder’s response.

         10.    Before producing any of a third-party claimant’s Potentially Protected

   Material to the Prosecution Team and/or Defendant(s), the Filter Team shall notify

   the third-party claimant that their Potentially Protected Material will be produced

   as part of the discovery to the Defendant(s) and/or released to the Prosecution Team.




   9     “Business days” are weekdays, excluding Saturday, Sunday, and legal
   holidays.
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   The following procedure will apply to releasing a third-party claimant’s Potentially

   Protected Material to the Defendant(s) and/or the Prosecution Team:

               a.          Notice: The written notice to the third-party potential privilege
                           holder shall include:

                      i.         The criminal case number of this proceeding;

                     ii.         The anticipated date of the release to the Prosecution Team
                                 and/or Defendant(s);

                    iii.         An electronic index identifying the Potentially Protected
                                 Material scheduled for release;

                    iv.          An electronic copy of the Potentially Protected Material
                                 scheduled for production;

                     v.          A copy of the Protective Order in this case; and

                    vi.          A copy of this Protocol Order.

               b.          Objections to Production or Asserting Privilege Claims: If the
                           third-party potential privilege holder objects to the Filter Team’s
                           production of certain items to Defendant(s) or the Prosecution
                           Team, the third-party claimant must send a written objection to
                           the Filter Team and counsel for Defendant(s) within thirty (30)
                           days of receiving the notice of scheduled release. The objection
                           shall include a privilege log setting forth for each item logged:

                      i.         The Bates number range for the document;

                     ii.         The document title or a description of the document’s
                                 subject matter;

                    iii.         The date the document was created;

                    iv.          The author(s) of the document;

                     v.          The recipient(s) of the document;

                    vi.          The privilege holder(s) asserting the claim; and




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                    vii.         The privilege(s) and protection(s) asserted that preclude
                                 production of each document logged (e.g., attorney-client
                                 privilege, work product doctrine protection, or other legally
                                 recognized privilege or protection).

               c.          Non-Logged Potentially Protected Material: The Filter Team will
                           release to the Prosecution Team and Defendant(s) the Potentially
                           Protected Material that the third-party claimant does not include
                           on the privilege log without the need for the Court’s approval.

               d.          Failure to Object or Assert: If the third-party privilege holder fails
                           to adequately object within thirty (30) days of the Filter Team’s
                           notice of scheduled release, the Filter Team will provide the
                           Prosecution Team and Defendant(s) with information regarding
                           the Filter Team’s attempts to contact the third-party claimant
                           and the subsequent failure to respond. Thereafter, the
                           Government or Defendant(s) may forego Subparagraphs (f)–(i)
                           below and move the Court for a finding that the third-party
                           claimant has waived any protections over the Potentially
                           Protected Material identified in the notice of scheduled release.

               e.          Failure to Provide a Privilege Log: If a third-party potential
                           privilege holder fails to (i) provide to the Filter Team and
                           Defendant(s) a privilege log that complies with Subparagraph (b)
                           above, or (ii) meet and confer in accordance with Subparagraph
                           (f) below, the Court may determine that such inactions constitute
                           waiver of any protections over the Potentially Protected Material.

               f.          Meet and Confer Requirement: After the Filter Team receives an
                           objection and required privilege log from a third-party potential
                           privilege holder, the Parties shall have ten (10) business days to
                           meet and confer with the third-party claimant to try to resolve
                           any disagreements concerning the production objection and/or
                           privilege assertion.

               g.          Motion to Compel: The Filter Team or Defendant(s) shall have ten
                           (10) business days from the date of the meet and confer to move
                           to compel production of the Potentially Protected Material. The
                           moving party shall include with its Motion a copy of the third-
                           party claimant’s privilege log and a memorandum containing any
                           factual or legal arguments. The moving party must also serve a
                           copy of the Motion and attachments on the third-party claimant.
                           Upon the Court’s request, the third-party claimant asserting the
                           privilege shall provide a copy of the disputed Potentially

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                       Protected Material to the Court ex parte and under seal for in
                       camera review.

                h.     Response: The third-party potential privilege holder shall file a
                       response within ten (10) business days of the filing of a motion to
                       compel under this Protocol.

                i.     Reply: A party moving to compel under this Protocol shall file a
                       reply within five (5) business days of the third-party potential
                       privilege holder’s response.

         11.    If an item produced in discovery to Defendant(s) and/or the Prosecution

   Team is later subject to a privilege claim by any party, and that claim is not

   challenged or is later upheld by the Court, the Co-Defendant(s) and/or the

   Prosecution Team must return or destroy that item unless they receive the Court’s

   approval to retain the material.

         12.    The Court retains jurisdiction to resolve any dispute or adjudicate any

   privilege claim asserted over discovery material produced pursuant to the Protocol,

   including if, and under what circumstances, a party may use the Potentially

   Protected Material at trial.

         13.    Pursuant to Federal Rule of Evidence 502(d), any Potentially Protected

   Material disclosed to the Prosecution Team, Defendant(s), or a third party under this

   Protocol or subsequent disclosure order in this proceeding, shall not constitute a

   waiver or forfeiture of any privilege claim in any other federal or state judicial or

   administrative proceeding.

         14.    All parties have the right to present to the Court any Potentially

   Protected Material to adjudicate whether the materials are indeed protected and/or

   if an exception to a protection applies, including, but not limited to, the crime-fraud

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   exception or waiver. Under Federal Rule of Evidence 502(d), a disclosure to determine

   whether materials are protected pursuant to this paragraph shall not itself constitute

   a waiver or forfeiture of any privilege claim.

         15.    If any member of the Prosecution Team inadvertently reviews

   Potentially Protected Material, the Prosecution Team member shall immediately

   cease review of the Potentially Protected Material and turn the Potentially Protected

   Material over to the Filter Team for processing in accordance with this Protocol.

   Inadvertent review of Potentially Protected Material shall not automatically

   disqualify a Prosecution Team member from this matter.

         16.    The Parties and third parties may extend the deadlines in this Protocol

   by written agreement or by requesting the same from the Court upon good cause

   shown.

         17.    The Government shall provide a copy of this Protocol Order to all known

   potential third-party claimants within five (5) business days of the entry of the Order.

         DONE AND ORDERED in Chambers at Miami, Florida, this 29th day of

   October 2021.

                                                                    /s/ Edwin G. Torres
                                                                    EDWIN G. TORRES
                                                         United States Magistrate Judge




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